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                       KeiSharra D. Eldridge M.S.                        Senior Forensic Chemist
                       Department of Justice                             South Central Laboratory
                       Drug Enforcement Administration                   Dallas, TX
                       Office of Forensic Science


                                            AREA OF EXPERTISE

 Forensic Discipline
             Seized Drugs Analysis

 Expert Testimony
    Qualified in federal court as an expert witness in the analysis of controlled substances.
    Testified approximately three times.
           o The State of Texas Vs Justin Eric Adams, A-22-5157-CR, (Rockport, TX) 2022
           o U.S. v. Michael Delprioire, 3:18-cr-00136-SLG, (Anchorage, Alaska) 2022
           o US v. Bradley Woolard, CR18-217 RSM, (Seattle, WA) 2021


                                      PROFESSIONAL EXPERIENCE
 DRUG ENFORCEMENT ADMINISTRATION
 Senior Forensic Chemist, South Central Laboratory Dallas, TX September 2021-Present
 Western Laboratory, Pleasanton, CA, August 2017 – September 2021
        Analyze evidence for the presence or absence of controlled substances
        Report findings and provide expert testimony based on the results of analyses
        Provide field assistance to law enforcement personnel in the seizures of clandestine laboratories
        Monitor and maintain analytical instrumentation including Gas Chromatography-Flame Ionization
         Detectors (GC-FID), Gas Chromatography-Mass Spectrometers(GC-MS), High Performance
         Liquid Chromatograph (HPLC), and GC Chromatography- Infrared Detectors (GC-IRD)

SEATON MEDICAL CENTER
Clinical Laboratory Assistant, Austin, Texas, 2017
Assisted with receiving, identifying, accessioning, and transporting specimens
        Performed special procedures such as Micro plate set ups, preparation of reference lab samples
        Performed analysis of patient samples under the leadership of designated staff, as assigned

NATIONAL AERONAUTICS AND SPACE ADMINISTRATION – LANGELY
Research Assistant, Hampton, Virginia, 2016-2017
        Designed and developed structural materials
        Prepared samples for Materials International Space Station Experiment 9 using American Society
         of Mechanical Engineers Standards
        Prepared preliminary and final reports concerning results of analysis performed and reported to
         Senior Scientist using Microsoft Word and PowerPoint

NATIONAL AERONAUTICS AND SPACE ADMINISTRATION/NORFOLK STATE UNIVERSITY
Graduate Research Assistant (Hampton, Virginia and Norfolk, Virginia), 2012-2015
        Conducted experiments and research with new procedures and techniques for semiconductor
         materials and devices

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      Studied current material in scientific journals regarding new advances and techniques in aerospace
       materials
      Represented the Radiation Shielding Materials Department at conferences and meetings

Training
       DEA Basic Forensic Training Program (Quantico, Virginia), 2017
       Agilent 7890A/B GC and Open LAB ChemStation Operation, 2019
       The Impact of the 2018 Farm Bill on the Forensic Analysis of Cannabis, 2020
       A Decade of Designer Drugs: Lessons Learned and Future Directions, 2020
       Agilent 5977 GC/MS Maintenance and Troubleshooting, 2021



                                   EDUCATION AND CERTIFICATIONS

Norfolk State University, Norfolk, Virginia
   Masters of Science, 2015
       Material Science
       Thesis: Effective Radiation Shielding Ability of Boron Nitride Nanotube Polyethylene Composites

University of Arkansas at Pine Bluff, Pine Bluff, Arkansas
    Bachelors of Science, 2012
       Chemistry

Certification(s)
    DEA Clandestine Laboratory Investigation/Safety, certified August 2018 – present
    DEA Illicit Hazardous Environments Specialist Level Class: ADV 38, certified January 2021‐present



                                    PRESENTATIONS AND LECTURES

       American Academy of Forensic Sciences (AAFS) - 2020




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